      Case 1:20-cv-00102-APM Document 1 Filed 01/14/20 Page 1 of 9



                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

BOARD OF TRUSTEES OF THE INTERNATIONAL          )
UNION OF OPERATING ENGINEERS AND PLCA           )
NATIONAL PIPELINE TRAINING FUND                 )
1125 Seventeenth Street, N.W.                   )
Washington, D.C. 20036,                         )
                                                )
BOARD OF TRUSTEES OF THE INTERNATIONAL          )
UNION OF OPERATING ENGINEERS NATIONAL           )
TRAINING FUND                                   )
1125 Seventeenth Street, N.W.                   )
Washington, D.C. 20036,                         )
                                                )
BOARD OF TRUSTEES OF THE INTERNATIONAL          )            COMPLAINT
UNION OF OPERATING ENGINEERS AND                )
PIPE LINE CONTRACTORS ASSOCIATION LABOR- )
MANAGEMENT COOPERATION TRUST                    )
1125 Seventeenth Street, N.W.                   )
Washington, D.C. 20036,                         )
                                                )
                                   Plaintiffs,  )
                                                )
                     v.                         )
                                                )
GENERAL PIPELINE CONSTRUCTION, INC.             )
3442 Amma Road                                  )
Amma, West Virginia 25005,                      )
                                                )
             Serve: John F. O’Dell              )
                     3442 Amma Road             )
                     Amma, West Virginina 25005 )
                                                )
                                   Defendant.   )

                                   COMPLAINT

               (TO COLLECT CONTRIBUTIONS AND DAMGES
                   DUE TO EMPLOYEE BENEFIT FUNDS)

       Plaintiffs, pursuant to Federal Rule of Civil Procedure 8(a), hereby allege the

following:
      Case 1:20-cv-00102-APM Document 1 Filed 01/14/20 Page 2 of 9



                                       PARTIES

       1.      Plaintiff, Board of Trustees of the International Union of Operating

Engineers and PLCA National Pipe Line Training Fund ("Pipe Line Training Fund") is an

employee benefit plan as that term is defined in Section 3(3) of the Employee Retirement

Income Security Act of 1974 ("ERISA"), 29 U.S.C. § 1002(3). The Pipe Line Training

Fund is a multiemployer plan as that term is defined in Section 3(37) of ERISA, 29 U.S.C.

§ 1002(37). The Pipe Line Training Fund was established and is maintained in accordance

with its Agreement and Declaration of Trust. The Pipe Line Training Fund transacts its

business at 1125 Seventeenth Street, N.W., Washington, D.C. 20036. The Board of

Trustees is the designated fiduciary in accordance with the Pipe Line Training Fund's

Agreement and Declaration of Trust and as defined in Section 3(21) of ERISA, 29 U.S.C.

§ 1002(21). The National Pipe Line Training Fund is funded as required by collective

bargaining agreements between participating employers and local unions affiliated with

the International Union of Operating Engineers.

       2.      The Plaintiff Board of Trustees of the International Union of Operating

Engineers National Training Fund ("National Training Fund") is an employee benefit plan

as that term is defined in Section 3(3) of the Employee Retirement Income Security Act of

1974 ("ERISA"), 29 U.S.C. §§ 1002(3). The National Training Fund is a multiemployer

plan as that term is defined in Section 2(37) of ERISA, 29 U.S.C. § 1002(37). The National

Training Fund was established and is maintained in accordance with its Restated

Agreement and Declaration of Trust. The National Training Fund transacts its business at

1125 Seventeenth Street, N.W., Washington, D.C. 20036. The individual members of the

Board of Trustees are designated fiduciaries in accordance with the National Training



                                            2
      Case 1:20-cv-00102-APM Document 1 Filed 01/14/20 Page 3 of 9



Fund's Restated Agreement and Declaration of Trust and as defined in Section 3(21) of

ERISA, 29 U.S.C. § 1002(1). The National Training Fund is funded as required by

collective bargaining agreements between participating employers and local unions

affiliated with the International Union of Operating Engineers.

       3.      Plaintiff, Board of Trustees of the International Union of Operating

Engineers and Pipe Line Contractors Association Labor-Management Cooperation Trust

(“Labor-Management Cooperation Trust”) is a labor-management cooperation committee

as provided for in Section 302(c)(9) of the Taft-Hartley Act, 29 U.S.C. § 186(c)(9), and

Section 6 of the Labor-Management Cooperation Act of 1978, 29 U.S.C. § 175a. The

Labor-Management Cooperation Trust is established and maintained according to the

provisions of its Agreement and Declaration of Trust. The Labor-Management Cooperation

Trust is administered by its Trustees at 1125 Seventeenth Street, N.W., Washington, D.C.

20036. The Board of Trustees is a designated fiduciary in accordance with the Labor-

Management Cooperation Trust’s Agreement and Declaration of Trust.

       4.      Defendant, General Pipeline Construction, Inc. is a West Virginia corporation

that has a place of business at 3442 Amma Road, in Amma, West Virginia, and at all times

relevant to this action has been an “employer in an industry affecting commerce” as defined

in Sections 3(5), (9), (11), and (12) of ERISA, 29 U.S.C. §§ 1002(5), (9), (11) and (12), and

Section 3 of the Multi-Employer Pension Plan Amendments Act of 1980, 29 U.S.C. §§ 1001a.

                             JURISDICTION AND VENUE

       5.      This Court has subject matter jurisdiction of this action under Sections

502(a)(3), (g) and 515 of ERISA, 29 U.S.C. § § 1132(a)(3), (g) and 1145, under Sections

301(a) and (c) of the Labor Management Relations Act (“LMRA”), 29 U.S.C. § 185(a) and



                                             3
      Case 1:20-cv-00102-APM Document 1 Filed 01/14/20 Page 4 of 9



(c), and supplemental jurisdiction for any state law claims under 28 U.S.C. § 1367(a). This

is an action to enforce an employer’s contractual obligation to submit monthly contribution

reports and payments, and other contributions, pursuant to a collective bargaining

agreement.

       6.      This Court has personal jurisdiction over the Defendant pursuant to Section

502(e)(2) of ERISA, 29 U.S.C. § 1132(e)(2), and Sections 301(a) and (c) of the LMRA, 29

U.S.C. § 185(a) and (c).

       7.      Venue is proper in this district pursuant to Section 502(e)(2) of ERISA, 29

U.S.C. § 1132(e)(2), and Sections 301(a) and (c) of the LMRA, 29 U.S.C. § 185(a) and (c).

                                          FACTS

       8.      Defendant has been bound to and signatory at all relevant times to the National

Pipe Line Agreement (“Agreement”) that governs the wages, benefits and terms and

conditions of employment of apprentices and journeymen performing work covered by the

Agreement.

       9.      Pursuant to the Agreement, Defendant agreed to pay to the Plaintiffs certain

sums of money for each hour worked by employees of the Defendant performing work

covered by the Agreement.

       10.     Between the period of June 2011 to the present, Defendant has employed

employees performing work under the Agreement.

       11.     During the period of June 2011 to the present, the Defendant failed to report

hours worked and pay all contributions owing to the Plaintiffs.




                                              4
       Case 1:20-cv-00102-APM Document 1 Filed 01/14/20 Page 5 of 9



        12.     Pursuant to the Plaintiffs’ Agreements and Declarations of Trust an employer

who fails to pay required contributions is liable for liquidated damages in the amount of 20%

of the total contributions owed.

        13.      Pursuant to the Plaintiffs’ Agreements and Declarations of Trust an employer

who fails to pay required contributions is liable for interest at the rate of 9% per annum or, for

the Labor-Management Cooperation Fund, at a rate to be determined and established by the

Board of Trustees.

        14.     Pursuant to the Plaintiffs’ Agreements and Declarations of Trust an employer

who fails to pay required contributions is liable for all attorneys' fees, audit fees and costs.

                                           COUNT I

                     (UNPAID CONTRIBUTIONS AND DAMAGES
                         TO EMPLOYEE BENEFIT FUNDS)

        15.     The Pipe Line Training Fund and National Training Fund hereby restate and

incorporate by reference the allegations set forth in paragraphs 1 through 14 as if fully set

forth in this Count I.

        16.     The Defendant has failed to report hours worked and pay contributions

owed to the Pipe Line Training Fund and National Training Fund as required by the

Agreement for various months within the period June 2011 to the present.

        17.     Based on information available to the Pipe Line Training Fund and National

Training Fund, the Defendant has failed to pay contributions owed to the Pipe Line

Training Fund and National Training Fund as required by the Agreement for various

months within the period June 2011 to July 2019 in the amount of $124,151.00.

        18.     By virtue of the failure to report and pay all contribution amounts as

contractually required, the Defendant is in contravention of the Agreement, the obligations

                                                5
      Case 1:20-cv-00102-APM Document 1 Filed 01/14/20 Page 6 of 9



under the Pipe Line Training and National Training Funds’ respective Restated

Agreements and Declarations of Trust, and Section 515 of ERISA.

        19.     The Defendant has failed to pay liquidated damages and interest for unpaid

contributions owed to the Pipe Line Training Fund and National Training Fund.

        20.     The Pipe Line Training Fund and National Training Fund are entitled to

judgment for all contributions owed, plus all liquidated damages and interest owed on

unreported and unpaid contributions, plus costs and attorneys’ fees to the date of judgment.

        21.     The Pipe Line Training Fund and National Training Fund will seek a judgment

in this action against the Defendant for all contributions, interest, liquidated damages and

attorneys’ fees and costs which become due, or are estimated to be due, subsequent to the

filing of this action, during the pendency of this action, and up to the date of judgment.

                                          COUNT II

                        (OTHER CONTRIBUTION PAYMENTS)

        22.     The Labor-Management Cooperation Trust hereby restates and incorporates

by reference the allegations set forth in paragraphs 1 through 21 as if fully set forth in Count

II.

        23.     Pursuant to the Agreement, Defendant agreed to report and pay to the Labor-

Management Cooperation Trust certain sums of money for each hour worked by Defendant’s

employees covered by the Agreement.

        24.     Defendant employed certain employees covered by the Agreement, but failed

to report and pay the entire amounts when due to the Labor-Management Cooperation Trust

during the period January 2019 to the present.




                                               6
      Case 1:20-cv-00102-APM Document 1 Filed 01/14/20 Page 7 of 9



       25.     Based on information available to the Labor-Management Cooperation Trust,

the Defendant has failed to pay contributions owed to the Labor-Management Cooperation

Trust as required by the Agreement during the period January 2019 to July 2019 in the amount

of $664.05.

       26.     By virtue of failure to report and pay all contribution amounts as contractually

required, the Defendant is in contravention of the Agreement and the obligations under the

Labor-Management Cooperation Trust’s Agreement and Declaration of Trust.

       27.     The Defendant has failed to pay liquidated damages and interest for unpaid

contributions owed to the Labor-Management Cooperation Trust.

       28.     The Labor-Management Cooperation Trust is entitled to judgment for all

contributions owed, plus all liquidated damages and interest owed on unreported and unpaid

contributions, plus costs and attorneys’ fees to the date of judgment.

       29.     The Labor-Management Cooperation Trust will seek a judgment in this action

against the Defendant for all contributions, interest, liquidated damages and attorneys’ fees

and costs which become due, or are estimated to be due, subsequent to the filing of this action,

during the pendency of this action, and up to the date of judgment.

       WHEREFORE, Plaintiffs pray judgment against the Defendant on Count I and

Count II of the Complaint as follows:

       A.      For unpaid contributions due and owing to the Plaintiffs for work performed

during the months of June 2011 up to the date of judgment.

       B.      For liquidated damages and interest for any late-paid and unpaid contributions

owed as provided for in the Agreement, Agreements and Declarations of Trust, and/or

pursuant to 29 U.S.C. § 1132(g)(2) through the date of judgment.



                                               7
      Case 1:20-cv-00102-APM Document 1 Filed 01/14/20 Page 8 of 9



       C.      For such contributions, interest and liquidated damages that may accrue and/or

are found to be due and owing to the Plaintiffs subsequent to the filing of this Complaint,

during the pendency of this action, and up to the date of judgment pursuant to the Agreement,

Agreements and Declarations of Trust, and/or 29 U.S.C. § 1132(g)(2).

       D.      For costs and reasonable attorneys' fees up to the date of judgment as required

by the Agreement, Agreements and Declarations of Trust, and/or as required by 29 U.S.C. §

1132(g)(2).

       E.      Such further relief as the Court deems appropriate.



                                              Respectfully submitted,

Dated: January 14, 2020               By:     /s/ Charles W. Gilligan
                                              Charles W. Gilligan (Bar No. 394710)
                                              O’DONOGHUE & O’DONOGHUE LLP
                                              5301 Wisconsin Avenue, N.W., Suite 800
                                              Washington, D.C. 20015
                                              Telephone: (202) 362-0041
                                              Facsimile: (202) 237-1200

                                              Attorney for the Plaintiffs




                                             8
      Case 1:20-cv-00102-APM Document 1 Filed 01/14/20 Page 9 of 9




                            CERTIFICATE OF SERVICE

       I hereby certify that I caused a true and correct copy of the foregoing Complaint to

be served by certified mail in accordance with the requirements of Section 502(h) of the

Employee Retirement Income Security Act of 1974, 29 U.S.C. § 1132(h) this 14th day of

January, 2020 on the following:

              The Office of Division Counsel
              Associate Chief Counsel (TE/GE) CC:TEGE
              Room 4300
              1111 Constitution Avenue
              Washington, DC 20224

              Secretary of Labor
              200 Constitution Ave., N.W.
              Washington, DC 20210

              Attention: Assistant Solicitor for
                       Plan Benefits Security


                                             /s/ Charles W. Gilligan
                                                 Charles W. Gilligan




                                            9
